Case 2:04-cv-02016-.]DB-dkv Document 71 Filed 08/15/05 Page 1 of 5 Page|D 91

 

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FoR THE wEsTERN DISTRICT oF TENNESSEE 95 AUG
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AMERICOACH ToURs, lNc., individualy, nw ; \{`HTTCOWT
and as subrogee of DISCOVER RE, f HS
Plaimiff,
vs. ease No. 04-2016 B/v (consolidated)/
05-2067 Ma/v

DETROIT DIESEL CORPORATION,
MOTOR COACH INDUSTRIES, INC.,
and ESPAR, INC.

Defendants.

 

CONSENT ORDER GRANTING PLAINTIFF’S MOTION FOR LEAVE TO FILE
AMENDED COMPLAINT

 

This cause came to be heard upon the request of the plaintiffs, Americoach Tours,
Inc., individually and as subrogee of Discover Re, to amend the complaints filed in cause
numbers 04-2016 and 05-2067 pursuant to Rule 15 of the Federal Rule of Civil
Procedure. Counsel for the plaintiff consulted with counsel for each defendant at various
times between July 8, 2005 and July 28, 2005, and counsel for each opposing party has
consented to this plaintiff’s amendment of the complaints filed in both cause number 04-
2016 and cause number 05-2067. Both defendant Detroit Diesel Corporation and
defendant Motor Coach Industries, Inc. filed motions to dismiss following plaintiffs
filing of its complaint in cause number 05-2067. Their pending motions to dismiss, which
are fully briefed and awaiting ruling, will apply to the allegations of the amended

complaint so that new motions to dismiss need not be filed.

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with Ru|e 58 and/or 79(a) FRCP on Me w

Case 2:04-cv-02016-.]DB-dkv Document 71 Filed 08/15/05 Page 2 of 5 Page|D 92

Based upon the written consent of each opposing counsel, the motion for the
plaintiffs, the supporting memorandum, and the entire record herein, the court find that
Americoach's motion is well taken and should be granted

WHEREFORE, it is ordered that the plaintiffs‘ Motion for Leave is granted

br
This the ff day of é ZLL?MQY , 2005.

nw /c ZMW

HoNoRABLE J.-BANLEL.BR.E,EN Dahne, !C. Ué:§cv Ub
United States Disti:iet-Judge

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Case 2:04-cv-02016-.]DB-dkv Document 71 Filed 08/15/05 Page 3 of 5 Page|D 93

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Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
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Case 2:04-cv-02016-.]DB-dkv Document 71 Filed 08/15/05 Page 5 of 5 Page|D 95

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US DISTRICT COURT

